Case: 3:15-c

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UNITED STATES DISTRICT COURT
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MADISON, WISCONSIN 53703

 

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~ item 4 if Restricted Delivery is desired. x 2 Agent
@ Print your name and address on the reverse OO Addr
so that we can return the card to you. B. Received by (Printed Name) C. Date of Delivery

® Attach this card to the back of the mailpiece,
or on the front if space permits.

1. Article Addressed to:

 

 

 

D. Is delivery address different from item 1? 0 Yes
\f YES, enter delivery address below: No

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